Case 9:17-cv-80744-DMM Document 31 Entered on FLSD Docket 11/30/2017 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 17-cv-80744-DMM/DLB


   NICHOLAS C. KRIKORIAN,

                   Plaintiff,

   vs.

   BROKEN SOUND CLUB, INC., a Florida
   Corporation,

                   Defendant.



          JOINT MOTION FOR DISMISSAL OF ALL CLAIMS WITH PREJUDICE

          Plaintiff Nicholas C. Krikorian (“Plaintiff”) and Defendant Broken Sound Club, Inc.

  (“BSC”)(together referred to as “Parties”), by and through their respective counsel, hereby jointly

  move to dismiss, with prejudice, all claims brought by Plaintiff against BSC. In further support

  thereof, the Parties state as follows:

          1.)     Plaintiff filed a two-count Complaint against BSC based on alleged violations of the

  Fair Labor Standards Act (“FLSA”) [D.E. 1]: 1) Violation of the FLSA – Unpaid Overtime, and 2)

  Violation of the FLSA – Retaliatory Discharge. Id.

          2.)      After extensive discovery and exchange of relevant documents and

  information, the parties have decided to mutually agree to end this litigation. Specifically,

  Plaintiff has evaluated the risk of continuing to litigate his claims by factoring time and expense

  that will be expended over the next few weeks, with such time investment including Plaintiff’s

  presence at several depositions. Plaintiff has recently started working at a new job in the same

  industry (country club), which is in high season at the moment. Plaintiff’s time investment will
Case 9:17-cv-80744-DMM Document 31 Entered on FLSD Docket 11/30/2017 Page 2 of 3



  cause him to miss work, endanger his job and ultimately result in a loss of income.

          3.)       As a result of what has been learned in discovery, Plaintiff would have

  amended his complaint to remove one claim and add another. Such amendment would have

  required the Plaintiff to amend his Statement of Claim as well. Plaintiff’s purported amendment

  to his Statement of Claim would result in a much lower amount of damages at issue.

          4.)       Thus, Plaintiff has decided to drop his claim and avoid the time and expense

  that he will incur if the case moved forward, which would likely not be justified by the amount

  of damages that he would recover, assuming that Plaintiff prevailed, which was not a certainty.

          5.)       It has and continues to be BSC’s position that if this matter were to proceed to

  trial, the evidence would establish that there was no bona fide dispute over FLSA violations

  because no such violations occurred. As such, in light of Plaintiff’s desire to dismiss the case

  with prejudice, BSC joins in this dismissal.

          6.)       There has been no settlement in this case other than the parties stipulated to

  dismissal of this litigation, with each side to bear its own fees and costs. Being that the Plaintiff

  has decided that the risk does not justify that he continue to pursue his case, Plaintiff requires

  that the Defendant agree not to seek an award of costs, which it could do, but for the parties’

  stipulation to bear their own fees and costs.

          WHEREFORE, based on the foregoing Plaintiff, Nicholas Krikorian and Defendant,

  Broken Sound Club respectfully requests that this matter be dismissed with prejudice, each

  party to bear their own attorneys’ fees and costs of this action.


                Dated this 30th day of November, 2017.




                                                     2
Case 9:17-cv-80744-DMM Document 31 Entered on FLSD Docket 11/30/2017 Page 3 of 3




 s/ Robert S. Norell _______________________       s/ Suzanne A. Singer
 ROBERT S. NORELL                                  SUZANNE A. SINGER
 rob@floridawagelaw.com                            Florida Bar No.: 0946222
 Florida Bar No. 996777                            E-mail: ssinger@rumberger.com
 ROBERT S. NORELL, P.A.                            Rumberger, Kirk, & Caldwell, P.A.
 300 N.W. 70th Ave., Suite 305                     A Professional Association
 Plantation, FL 33317                              Brickell City Tower, Suite 3000
 Tel: (954) 617-6017                               80 Southwest 8th Street
 Fax: (954) 617-6018                               Miami, Florida 33130-3037
                                                   Tel: 305.358.5577
 Of Counsel                                        Fax: 305.371.7580
 JAMES A. PETERSON
 Fla. Bar No. 645621                               Attorneys for Defendant, Broken Sound Club,
 E-Mail: James@FloridaWageLaw.com                  Inc.
 ROBERT S. NORELL, P.A.
 300 NW 70thAvenue
 Suite 305
 Plantation, Florida 33317
 Telephone: (954) 617-6017
 Facsimile: (954) 617-6018

 Attorneys for Plaintiff




                                               3
